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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR244
                      Plaintiff,                )
                                                )
       vs.                                      )                   ORDER
                                                )
FROILAN CUEVAS,                                 )
                                                )
                      Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant
Froilan Cuevas (Cuevas) (Filing No. 56). Cuevas seeks an extension in which to file pretrial
motions in accordance with the progression order. Cuevas has filed an affidavit wherein he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 57). Cuevas' counsel
represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted.


       IT IS ORDERED:
       Defendant Cuevas' motion for an extension of time (Filing No. 56) is granted. Cuevas
is given until on or before August 6, 2013, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motions, i.e., the time between July 12, 2013, and August 6, 2013,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 12th day of July, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
